Case 2:19-cv-00172-JDL Document 1 Filed 04/23/19 Page 1 of 18                    PageID #: 1




                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE
                                                  CIVIL ACTION NO:
U.S. Bank National Association, as Trustee,
as successor-in-interest to Bank of .Atnerica,
N.A., as Trustee, as successor by merger to
LaSalle Bank National Association, as
Indenture Trustee for the holders of the
Accredited Mortgage Loan Trust 2005-3
Asset Backed Notes


               Plaintiff                          COMPLAINT


                       vs .                       RE:
                                                  38 Jeffrey Strt>:et, T,ewiston, MR 04240


HomeGold, Inc. successor by merger to             Mortgage:
HomeSense Financial Corp.                         June 17, 2005
Lisa M. Tanguay and Daniel N. Tanguay             Book 6399, Page 9


               Defendants
Maine Revenue Services,
Beryle A. Martin,
Lisbon Fuel Company,

               Parties-In-Interest


       NOW COMES the Plaintiff, U.S. Bank National Association, as Trustee, as successor-in-

interest to Bank of America, N.A., as Trustee, as successor by merger to LaSalle Bank National

Association, as Indenture Trustee for the holders of the Accredited Mortgage Loan Trust 2005-3

Asset Backed Notes, by and through its attorneys, Doonan, Graves & Longoria, LLC, and hereby

complains against the Defendants, Lisa M. Tanguay and Daniel N. Tanguay, as follows:
Case 2:19-cv-00172-JDL Document 1 Filed 04/23/19 Page 2 of 18                     PageID #: 2




                             TURI                            •NUE

  1. This Court has jurisdiction over this action pursuant 28 U.S.C. § 1332(a)(1) (Diversity)

     because the Plaintiff and Defendants are citizens of different states and the matter in

     controversy exceeds the sum or value of seventy-five thousand and 00/100 ($75,000.00)

     dollars, exclusive of interest and costs. Any Court of the United States, upon the filing of

     an appropriate pleading, may declare the rights and other legal relations of any interested

     party seeking such declaration, whether or not further relief is or could be sought under 28

     u.s.c. § 2201.
  2. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a)(1) because the

     object of this litigation is a Note executed under seal currently owned and held by U.S. Bank

     National Association, as Trustee, as successor-in-interest to Bank of America, N.A., as

     Trustee, as successor by merger to LaSalle Bank National Association, as Indenture Trustee

     for the holders of the Accredited Mortgage Loan Trust 2005-3 Asset Backed Notes, in

     which the Defendants, Lisa M. Tanguay and Daniel N. Tanguay, are the obligor and the total

     amount owed under the terms of the Note is Two Hundred Twelve Thousand Six Hundred

     Five and 89/100 ($212,605.89) Dollars, plus attorney fees and costs associated with the

     instant action; thus, the amount in controversy exceeds the jurisdictional threshold of

     seventy-five thousand ($75,000.00) dollars.

  3. Venue is properly exercised pursuant to 28 U.S.C. §1391(b)(2) insofar as all or a substantial

     portion of the events that give rise to the Plaintiff's claims transpired in Maine and the

     property is located in Maine.
Case 2:19-cv-00172-JDL Document 1 Filed 04/23/19 Page 3 of 18                    PageID #: 3




                                          PARTIES

  4. U.S. Bank National Association, as Trustee, as successor-in-interest to Bank of America,

     N.A., as Trustee, as successor by merger to LaSalle Bank National Association, as Indenture

     Trustee for the holders of the Accredited Mortgage Loan Trust 2005-3 Asset Backed Notes

     is a corporation organized under the laws of the State of Utah, with its principal place of

     business located at c/ o Select Portfolio Servicing, 3815 South West Temple, Salt Lake City,

     UT 84115.

  5. The Defendant, HomeGold, Inc. successor by merger to HomeSense Financial Corp. is a

     corporation located at 33 Villa Road, Greenville, SC 29615.

  6. The Defendant, Daniel N. Tanguay, is a resident of Lewiston, County of Androscoggin and

     State of Maine.

  7. The Defendant, Lisa M. Tanguay, is a resident of Lewiston, County of Androscoggin and

     State of Maine.

  8. The Party-in-Interest, Maine Revenue Services, is located at 51 Commerce Drive, Augusta,

     ME 04332.

  9. The Party-in-Interest, Beryle A. Martin is located at 73 Bald Hill Road, New Gloucester, ME

     04260.

  10. The Party-in-Interest, Lisbon Fuel Company is located at 19 Capital Avenue, Lisbon Falls,

     ME 04252.

                                            FACTS

  11. On September 5, 1996, by virtue of a Warranty Deed from Leona J. Landry, which is

     recorded in the Androscoggin County Registry of Deeds in Book 3665, Page 336, the

     property situated at 38 Jeffrey Street, County of Androscoggin, and State of Maine, was
Case 2:19-cv-00172-JDL Document 1 Filed 04/23/19 Page 4 of 18                     PageID #: 4




     conveyed to the Defendants, Lisa M. Tanguay and Daniel N. Tanguay, being more

     particularly described by the attached legal description. See Exhibit A (a true and correct

     copy of the legal description is attached hereto and incorporated herein).

  12. On June 17, 2005, the Defendants, Lisa M. Tanguay and Daniel N. Tanguay, executed and

     delivered to Home Funds Direct a certain Note in the amount of $137,750.00. See Exhibit B

     (a true and correct copy of the Note is attached hereto and incorporated herein).

  13. To secure said Note, on June 17, 2005, the Defendants executed a Mortgage Deed in favor

     of Mortgage Electronic Registration Systems, Inc., as nominee for Home Funds Direct,

     securing the property located at 38 Jeffrey Street, Lewiston, ME 04240 which Mortgage

     Deed is recorded in the Androscoggin County Registry of Deeds in Book 6399, Page 9. See

     Exhibit C (a true and correct copy of the Mortgage is attached hereto and incorporated

     herein).

  14. The Mortgage was then assigned to Bank of America, National Association, as Successor by

     Merger to LaSalle Bank National Association, as Indenture Trustee on Behalf of the

     Holders of the Accredited Mortgage Loan Trust 2005-3 Asset-Backed Notes by virtue of an

     Assignment of Mortgage dated December 14, 2010 and recorded in the Androscoggin

     County Registry of Deeds in Book 8091, Page 127. See Exhibit D (a true and correct copy

     of the Assignment of Mortgage is attached hereto and incorporated herein).

  15. The Mortgage was then assigned to U.S. Bank National Association, as Trustee, as successor-

     in-interest to Bank of America, N.A., as Trustee, as successor by merger to LaSalle Bank

     National Association, as Indenture Trustee for the holders of the Accredited Mortgage Loan

     Trust 2005-3 Asset Backed Notes by virtue of an Assignment of Mortgage dated June 23,

     2011 and recorded in the Androscoggin County Registry of Deeds in Book 8197, Page 259.
Case 2:19-cv-00172-JDL Document 1 Filed 04/23/19 Page 5 of 18                     PageID #: 5




      See Exhibit E (a true and correct copy of the Assignment of Mortgage is attached hereto

      and incorporated herein).

  16. The Order Nunc Pro Tune confirms the mortgage assignment to U.S. Bank National

     Association, as Trustee, as successor-in-interest to Bank of America, N.A., as Trustee, as

      successor by merger to LaSalle Bank National Association, as Indenture Trustee for the

      holders of the Accredited Mortgage Loan Trust 2005-3 Asset Backed Notes June 29, 2017,

      and recorded in the Androscoggin County Registry of Deeds in Book 9663, Page 208. See

      Exhibit F (a true and correct copy of the Order Nunc Pro Tune is attached hereto and

     incorporated herein).

  17. On November 13, 2018, the Defendants, Lisa M. Tanguay and Daniel N. Tanguay, were sent

     a Notice of Mortgagor's Right to Cure, as evidenced by the Certificate of Mailing (herein

     after referred to as the "Demand Letter"). See Exhibit G (a true and correct copy of the

      Demand Letter is attached hereto and incorporated herein).

  18. The Demand Letter informed the Defendants, Lisa M. Tanguay and Daniel N. Tanguay, of

      the payment due date, the total amount necessary to cure the default, and the deadline by

     which the default must be cured, which was thirty-five (35) days from receipt of the

     Demand Letter. See Exhibit G.

  19. The Defendants, Lisa M. Tanguay and Daniel N. Tanguay, failed to cure the default prior to

     the expiration of the Demand Letter.

  20. The Plaintiff, U.S. Bank National Association, as Trustee, as successor-in-interest to Bank of

     America, N.A., as Trustee, as successor by merger to LaSalle Bank National Association, as

     Indenture Trustee for the holders of the Accredited Mortgage Loan Trust 2005-3 Asset

     Backed Notes, is the present holder of the Note pursuant to endorsement by the previous

     holder (if applicable), payment of value and physical possession of the Note in conformity
    Case 2:19-cv-00172-JDL Document 1 Filed 04/23/19 Page 6 of 18                     PageID #: 6




         with 11 M.R.S. § 3-1201, et seq., 10 M.R.S. § 9416, and Simans!ry v. Clark, 147 A. 205, 128 Me.

         280 (1929).

      21. The Plaintiff, U.S. Bank National Association, as Trustee, as successor-in-interest to Bank of

         America, N.A., as Trustee, as successor by merger to LaSalle Bank National Association, as

          Indenture Trustee for the holders of the Accredited Mortgage Loan Trust 2005-3 Asset

         Backed Notes, is the lawful holder and owner of the Note and Mortgage.

      22. HomeGold, Inc. Successor by Merger to HomeSense Financial Corp. is a Defendant,

         pursuant to a prior mortgage in the amount of $106,400.00 dated June 30, 2000, and

         recorded in the Androscoggin County Registry of Deeds in Book 4473, Page 1. Upon

         information and belief, this prior mortgage has been paid in full and should have been
•
         discharged.

      23. Beryle A. Martin is a Party-in-Interest pursuant to a Writ of Execution in the amount of

         $12,605.04 dated December 15, 2014, and recorded in the Androscoggin County Registry of

         Deeds in Book 9056, Page 228 and is in second position behind Plaintiff's Mortgage.

      24. Maine Revenue Services is a Party-in-Interest pursuant to a Writ of Notice of State Lien in

         the amount of $7,375.67 dated December 30, 2014, and recorded in the Androscoggin

         County Registry of Deeds in Book 9064, Page 222 and is in third position behind Plaintiff's

         Mortgage.

      25. Maine Revenue Services is a Party-in-Interest pursuant to a Notice of State Lien in the

         amount of $6,667.52 dated December 27, 2015, and recorded in the Androscoggin County

         Registry of Deeds in Book 9286, Page 71 and is in fourth position behind Plaintiff's

         Mortgage.
Case 2:19-cv-00172-JDL Document 1 Filed 04/23/19 Page 7 of 18                       PageID #: 7




  26. Lisbon Fuel Company is a Party-in-Interest pursuant to a Writ of Execution in the amount

      of $466.92 dated January 17, 2017, and recorded in the Androscoggin County Registry of

     Deeds in Book 9655, Page 172 and is in fifth position behind Plaintiff's Mortgage.

  27. The total debt owed under the Note and Mortgage as of April 12, 2019, is Two Hundred

     Twelve Thousand Six Hundred Five and 89/100 ($212,605.89) Dollars, which includes:

                      Description                                 Amount
      Principal Balance                                                       $151,932.49
      Interest                                                                  $33,225.36
      Escrow Advance                                                            $26,873.37
      Late Fees                                                                     $22.67
      Recoverable Balance                                                          $552.00
      Grand Total                                                             $212,605.89



  28. Upon information and belief, the Defendants, Lisa M. Tanguay and Daniel N. Tanguay, are

     presently in possession of the subject property originally secured by the Mortgage.

                               COUNT I -rOR •                  URE

  29. The Plaintiff, U.S. Bank National Association, as Trustee, as successor-in-interest to Bank of

     America, N.A., as Trustee, as successor by merger to LaSalle Bank National Aswciution, us

      Indenture Trustee for the holders of the Accredited Mortgage Loan Trust 2005-3 Asset

      Backed Notes, repeats and re-alleges paragraphs 1 through 28 as if fully set forth herein.

  30. This is an action for foreclosure respecting a real estate related Mortgage and title located at

      38 Jeffrey Street, Lewiston, County of Androscoggin, and State of Maine. See Exhibit A.

  31. The Plaintiff, U.S. Bank National Association, as Trustee, as successor-in-interest to Bank of

     America, N.A., as Trustee, as successor by merger to LaSalle Bank National Association, as

      Indenture Trustee for the holders of the Accredited Mortgage Loan Trust 2005-3 Asset

     Backed Notes, is the holder of the Note referenced in Paragraph 12 pursuant to
Case 2:19-cv-00172-JDL Document 1 Filed 04/23/19 Page 8 of 18                     PageID #: 8




     endorsement by the previous holder (if applicable) and physical possession of the aforesaid

     Note in conformity with Title 11, section 3-1201, et seq. of the Maine Revised Statutes and

     Simansky v. Clark, 147 A. 205, 128 Me. 280 (1929). As such, Plaintiff, U.S. Bank National

     Association, as Trustee, as successor-in-interest to Bank of America, N.A., as Trustee, as

     successor by merger to LaSalle Bank National Association, as Indenture Trustee for the

     holders of the Accredited Mortgage Loan Trust 2005-3 Asset Backed Notes, has the right to

     foreclosure upon the subject property.

  32. The Plaintiff, U.S. Bank National Association, as Trustee, as successor-in-interest to Bank of

     America, N.A., as Trustee, as successor by merger to LaSalle Bank National Association, as

     IuJeulure Truslee fur Lhe holJers of the Accre<lite<l Mortgage Loan Trust 2005-3 Assel

     Backed Notes, is the current owner and investor of the aforesaid Mortgage and Note.

  33. The Defendants, Lisa M. Tanguay and Daniel N. Tanguay, are presently in default on said

     Mortgage and Note, having failed to make the monthly payment due October 1, 2013, and

     all subsequent payments, and, therefore, have breached the condition of the aforesaid

     Mortgage and Note.

  34. The total debt owed under the Note and Mortgage as of April 12, 2019, is Two Hundred

     Twelve Thousand Six Hundred Five and 89/100 ($212,605.89) Dollars, which includes:

                     Description                                 Amount
      Principal Balance                                                      $151,932.49
      Interest                                                                $33,225.36
      Escrow advance                                                          $26,873.37
      Late Fees                                                                   $22.67
      Recoverable Balance                                                        $552.00
      Grand Total                                                            $212,605.89
Case 2:19-cv-00172-JDL Document 1 Filed 04/23/19 Page 9 of 18                     PageID #: 9




  35. The record established through the Androscoggin County Registry of Deeds indicates that

     there are no public utility easements recorded subsequent to the Mortgage and prior to the

     commencement of these proceedings affecting the mortgaged premises at issue herein.

  36. By virtue of the Defendants' breach of condition, the Plaintiff hereby demands a

     foreclosure on said real estate.

  37. Notice in conformity with 14 M.R.S.A. §6111 was sent to the Defendants, Lisa M. Tanguay

     and Daniel N. Tanguay, on November 13, 2018, evidenced by the Certificate of Mailing.. See

     Exhibit G.

  38. The Defendants, Lisa M. Tanguay and Daniel N. Tanguay, are not in the Military as

     evidenced by the attached Exhibit I I.

                                                                OTE

  39. The Plaintiff, U.S. Bank National Association, as Trustee, as successor-in-interest to Bank of

     America, N.A., as Trustee, as successor by merger to LaSalle Bank National Association, as

     Indenture Trustee for the holders of the Accredited Mortgage Loan Trust 2005-3 Asset

     Backed Notes, repeats and re-alleges paragraphs 1 through 38 as if fully set forth herein.

  40. On June 17, 2005, the Defendants, Lisa M. Tanguay and Daniel N. Tanguay, executed and

     delivered to Home Funds Direct a certain Note in the amount of $137,750.00. See Exhibit

     B.

  41. The Defendants, Lisa M. Tanguay and Daniel N. Tanguay, are in default for failure to

     properly tender the October 1, 2013 payment and all subsequent payments. See Exhibit G.

  42. The Plaintiff, U.S. Bank National Association, as Trustee, as successor-in-interest to Bank of

     America, N.A., as Trustee, as successor by merger to LaSalle Bank National Association, as

     Indenture Trustee for the holders of the Accredited Mortgage Loan Trust 2005-3 Asset

     Backed Notes, is the proper holder of the Note and is entitled to enforce the terms and
Case 2:19-cv-00172-JDL Document 1 Filed 04/23/19 Page 10 of 18                     PageID #: 10



      conditions of the Note due to its breach by the Defendants, Lisa M. Tanguay and Daniel N.

      Tanguay.

   43. The Defendants, Lisa M. Tanguay and Daniel N. Tanguay, having failed to comply with the

      terms of the Note and Mortgage, are in breach of both the Note and the Mortgage.

   44. The Defendants Lisa M. Tanguay and Daniel N. Tanguay's breach is knowing, willful, and

      continuing.

   45. The Defendants Lisa M. Tanguay and Daniel N. Tanguay's breach has caused Plaintiff U.S.

      Bank National Association, as Trustee, as successor-in-interest to Bank of America, N.A., as

      Trustee, as successor by merger to LaSalle Bank National Association, as Indenture Trustee

      for the holders of the Accredited Mortgage Loan Trust 2005-3 Asset Backed Notes to suffer

      actual damages, including, but not limited to money lent, interest, expectancy damages, as

      well as attorney's fees and costs.

   46. The total debt owed under the Note and Mortgage as of April 12, 2019, if no payments are

      made, is Two Hundred Twelve Thousand SL'C Hundred Five and 89/100 ($212,605.89)

      Dollars, which includes:

                      Description                                Amount
       Principal Balance                                                     $151,932.49
       Interest                                                               $33,225.36
       Escrow Advance                                                         $26,873.37
       Late Fees                                                                    $22.67
       Recoverable Balance                                                         $552.00
       Grand Total                                                           $212,605.89



   47. Injustice can only be avoided by awarding damages for the total amount owed under the

      Note including interest, plus costs and expenses, including attorney fees.
Case 2:19-cv-00172-JDL Document 1 Filed 04/23/19 Page 11 of 18                     PageID #: 11




   C

   48. The Plaintiff, U.S. Bank National Association, as Trustee, as successor-in-interest to Bank of

       America, N.A., as Trustee, as successor by merger to LaSalle Bank National Association, as

       Indenture Trustee for the holders of the Accredited Mortgage Loan Trust 2005-3 Asset

       Backed Notes, repeats and re-alleges paragraphs 1 through 47 as if fully set forth herein.

   49. By executing, under seal, and delivering the Note, the Defendants, Lisa M. Tanguay and

       Daniel N. Tanguay, entered into a written contract with Home Funds Direct who agreed to

       loan the amount of $137,750.00 to the Defendants. See Exhibit B.

   50. As part of this contract and transaction, the Defendants, Lisa M. Tanguay and Daniel N.

       Tanguay, executed the Mortgage to secure the Note and the subject property. See Exhibit C.

   51. The Plaintiff, U.S. Bank National Association, as Trustee, as successor-in-interest to Bank of

       America, N.A., as Trustee, as successor by merger to LaSalle Bank National Association, as

       Indenture Trustee for the holders of the Accredited Mortgage Loan Trust 2005-3 Asset

       Backed Notes, is the proper holder of the Note and successor-in-interest to Home Funds

       Direct, and has performed its obligations under the Note and Mortgage.

   52. The Defendants, Lisa M. Tanguay and Daniel N. Tanguay, breached the terms of the Note

       and Mortgage by failing to properly tender the October 1, 2013 payment and all subsequent

       payments. See Exhibit G.

   53. The Plaintiff, U.S. Bank National Association, as Trustee, as successor-in-interest to Bank of

       America, N.A., as Trustee, as successor by merger to LaSalle Bank National Association, as

       Indenture Trustee for the holders of the Accredited Mortgage Loan Trust 2005-3 Asset

       Backed Notes, is the proper holder of the Note, and is entitled to enforce the terms and

       conditions of the Note due to its breach by the Defendants, Lisa M. Tanguay and Daniel N.

       Tanguay.
Case 2:19-cv-00172-JDL Document 1 Filed 04/23/19 Page 12 of 18                     PageID #: 12




   54. The Defendants, Lisa M. Tanguay and Daniel N. Tanguay, having failed to comply with the

      terms of the Note and Mortgage, are in breach of contract.

   55. The Defendants, Lisa M. Tanguay and Daniel N. Tanguay, are indebted to U.S. Bank

      National Association, as Trustee, as successor-in-interest to Bank of America, N.A., as

      Trustee, as successor by merger to LaSalle Bank National Association, as Indenture Trustee

      for the holders of the Accredited Mortgage Loan Trust 2005-3 Asset Backed Notes in the

      sum of Two Hundred Twelve Thousand Six Hundred Five and 89/100 ($212,605.89)

      Dollars, for money lent by the Plaintiff, U.S. Bank National Association, as Trustee, as

      successor-in-interest to Bank of America, N.A., as Trustee, as successor by merger to LaSalle

      Bank National Association, as Indenture Trustee for the holders of the Accredited Mortgage

      Loan Trust 2005-3 Asset Backed Notes, to the Defendants.

   56. Defendants Lisa M. Tanguay and Daniel N. Tanguay's breach is knowing, willful, and

      continuing.

   57. Defendants Lisa M. Tanguay and Daniel N. Tanguay's breach has caused Plaintiff, U.S. Bank

      National Association, as Trustee, as successor-in-interest to Bank of America, N.A., as

      Trustee, as successor by merger to LaSalle Bank National Association, as Indenture Trustee

      for the holders of the Accredited Mortgage Loan Trust 2005-3 Asset Backed Notes, to

      suffer actual damages, including, but not limited to money lent, interest, expectancy damages,

      as well as attorney's fees and costs.
Case 2:19-cv-00172-JDL Document 1 Filed 04/23/19 Page 13 of 18                     PageID #: 13



   58. The total debt owed under the Note and Mortgage as of April 12, 2019, if no payments are

      made, is Two Hundred Twelve Thousand Six Hundred Five and 89/100 ($212,605.89)

      Dollars, which includes:

                      Description                                 Amount
       Principal Balance                                                     $151,932.49
       Interest                                                                $33,225.36
       Escrow Advance                                                          $26,873.37
       Late Fees                                                                   $22.67
       Recoverable Balance                                                        $552.00
       Grand Total                                                           $212,605.89



   59. Injustice can only be avoided by awarding damages for the total amount owed under the

      Note and Mortgage, and for money had and received, including interest, plus costs and

      expenses, including attorney fees.

                             OUNTI                    T UM IvIERLJIT

   60. The Plaintiff, U.S. Bank National Association, as Trustee, as successor-in-interest to Bank of

      America, N.A., as Trustee, as successor by merger to LaSalle Bank National Association, as

      Indenture Trustee for the holders of the Accredited Mortgage Loan Trust 2005-3 Asset

      Backed Notes, repeats and re-alleges paragraphs 1 through 59 as if fully set forth herein.

   61. Home Funds Direct, predecessor-in-interest to U.S. Bank National Association, as Trustee,

      as successor-in-interest to Bank of America, N.A., as Trustee, as successor by merger to

      LaSalle Bank National Association, as Indenture Trustee for the holders of the Accredited

      Mortgage Loan Trust 2005-3 Asset Backed Notes, loaned Defendants, Lisa M. Tanguay and

      Daniel N. Tanguay, $137,750.00. See Exhibit B.

   62. The Defendants, Lisa M. Tanguay and Daniel N. Tanguay, are in default for failure to

      properly tender the October 1, 2013 payment and all subsequent payments. See Exhibit G.
Case 2:19-cv-00172-JDL Document 1 Filed 04/23/19 Page 14 of 18                      PageID #: 14



   63. As a result of the Defendants' failure to perform under the terms of their obligation, the

      Defendants, Lisa M. Tanguay and Daniel N. Tanguay, should be required to compensate the

      Plaintiff, U.S. Bank National Association, as Trustee, as successor-in-interest to Bank of

      America, N.A., as Trustee, as successor by merger to LaSalle Bank National Association, as

      Indenture Trustee for the holders of the Accredited Mortgage Loan Trust 2005-3 Asset

      Backed Notes.

   64. As such, the Plaintiff, U.S. Bank National Association, as Trustee, as successor-in-interest to

      Bank of America, N.A., as Trustee, as successor by merger to LaSalle Bank National

      Association, as Indenture Trustee for the holders of the Accredited Mortgage Loan Trust

      2005 3 Asset Backed Notes, is entitled to relief under the doctrine of quantum meruit.




   65. The Plaintiff, U.S. Bank National Association, as Trustee, as successor-in-interest to Bank of

      America, N.A., as Trustee, as successor by merger to LaSalle Bank National Association, as

      Indenture Trustee for the holders of the Accredited Mortgage Loan Trust 2005-3 Asset

      Backed Notes, repeats and re-alleges paragraphs 1 through 64 as if fully set forth herein.

   66. Home Funds Direct, predecessor-in-interest to U.S. Bank National Association, as Trustee,

      as successor-in-interest to Bank of America, N.A., as Trustee, as successor by merger to

      LaSalle Bank National Association, as Indenture Trustee for the holders of the Accredited

      Mortgage Loan Trust 2005-3 Asset Backed Notes, loaned the Defendants, Lisa M. Tanguay

      and Daniel N. Tanguay, $137,750.00. See Exhibit B.

   67. The Defendants, Lisa M. Tanguay and Daniel N. Tanguay, have failed to repay the loan

      obligation.

   68. As a result, the Defendants, Lisa M. Tanguay and Daniel N. Tanguay, have been unjustly

      enriched to the detriment of the Plaintiff, U.S. Bank National Association, as Trustee, as
Case 2:19-cv-00172-JDL Document 1 Filed 04/23/19 Page 15 of 18                      PageID #: 15



        successor-in-interest to Bank of America, N.A., as Trustee, as successor by merger to LaSalle

        Bank National Association, as Indenture Trustee for the holders of the Accredited Mortgage

        Loan Trust 2005-3 Asset Backed Notes as successor-in-interest to Home Funds Direct by

        having received the aforesaid benefits and money and not repaying said benefits and money.

   69. As such, the Plaintiff, U.S. Bank National Association, as Trustee, as successor-in-interest to

        Bank of America, N.A., as Trustee, as successor by merger to LaSalle Bank National

        Association, as Indenture Trustee for the holders of the Accredited Mortgage Loan Trust

        2005-3 Asset Backed Notes, is entitled to relief.

                                    PRAYERS FOR RELIEF

WHEREFORE, the Plaintiff, U.S. Bank National Association, as Trustee, as successor-in-interest to

Bank of America, N.A., as Trustee, as successor by merger to LaSalle Bank National Association, as

Indenture Trustee for the holders of the Accredited Mortgage Loan Trust 2005-3 Asset Backed

Notes, prays this Honorable Court:

   a)   Issue a judgment of foreclosure in conformity with Title 14 § 6322;

   b) Grant possession to the Plaintiff, U.S. Bank National Association, as Trustee, as successor-

        in-interest to Bank of America, N.A., as Trustee, as successor by merger to LaSalle Bank

        National Association, as Indenture Trustee for the holders of the Accredited Mortgage Loan

        Trust 2005-3 Asset Backed Notes, upon the expiration of the period of redemption;

   c) Find that the Defendants, Lisa M. Tanguay and Daniel N. Tanguay, are in breach of the

        Note by failing to make payment due as of October 1, 2013, and all subsequent payments;

   d) Find that the Defendants, Lisa M. Tanguay and Daniel N. Tanguay, are in breach of the

        Mortgage by failing to make payment due as of October 1, 2013, and all subsequent

        payments;
Case 2:19-cv-00172-JDL Document 1 Filed 04/23/19 Page 16 of 18                           PageID #: 16



   e) Find that the Defendants, Lisa M. Tanguay and Daniel N. Tanguay, entered into a contract

        for a sum certain in exchange for a security interest in the subject property;


   f)   Find that the Defendants, Lisa M. Tanguay and Daniel N. Tanguay, are in breach of contract

        by failing to comply with the terms and conditions of the Note and Mortgage by failing to

        make the payment due October 1, 2013 and all subsequent payments;


   g) Find that the Plaintiff, U.S. Bank National Association, as Trustee, as successor-in-interest to

        Bank of America, N.A., as Trustee, as successor by merger to LaSalle Bank National

        Association, as Indenture Trustee for the holders of the Accredited Mortgage Loan Trust

        2005-3 Asset Backed Notes, is entitled to enforce the terms and conditions of the Note and

        Mortgage;


   h) Find that by virtue of the money retained by the Defendants, Lisa M. Tanguay and Daniel N.

        Tanguay have been unjustly enriched at the Plaintiff's expense;


   i)   Find that such unjust enrichment entitles the Plaintiff, U.S. Bank National Association, as

        Trustee, as successor-in-interest to Bank of America, N.A., as Trustee, as successor by

        merger to LaSalle Bank National Association, as Indenture Trustee for the holders of the

        Accredited Mortgage Loan Trust 2005-3 Asset Backed Notes, to restitution;


   j)   Find that the Defendants, Lisa M. Tanguay and Daniel N. Tanguay, are liable to the Plaintiff,

        U.S. Bank National Association, as Trustee, as successor-in-interest to Bank of America,

        N.A., as Trustee, as successor by merger to LaSalle Bank National Association, as Indenture

        Trustee for the holders of the Accredited Mortgage Loan Trust 2005-3 Asset Backed Notes,

        for money had and received;
Case 2:19-cv-00172-JDL Document 1 Filed 04/23/19 Page 17 of 18                      PageID #: 17




   k) Find that the Defendants, Lisa M. Tanguay and Daniel N. Tanguay, are liable to the Plaintiff

        for quantum meruit;


   1)   Find that the Defendants, Lisa M. Tanguay and Daniel N. Tanguay, have appreciated and

        retained the benefit of the Mortgage and the subject property;

   m) Find that it would be inequitable for the Defendants, Lisa M. Tanguay and Daniel N.

        Tanguay, to continue to appreciate and retain the benefit of the Mortgage, Note and subject

        property without recompensing the appropriate value;

   n) Find that the Plaintiff, U.S. Bank National Association, as Trustee, as successor-in-interest to

        Bank of America, N.A., as Trustee, as successor by merger to LaSalle Bank National

        Association, as Indenture Trustee for the holders of the Accredited Mortgage Loan Trust

        2005-3 Asset Backed Notes, is entitled to restitution for this benefit from the Defendants,

        Lisa M. Tanguay and Daniel N. Tanguay;

   o) Determine the amount due on said Mortgage and Note, including principal, interest,

        reasonable attorney's fees and court costs;

   p) Additionally, issue a money judgment against the Defendants, Lisa M. Tanguay and Daniel

        N. Tanguay, and in favor of the Plaintiff, U.S. Bank National Association, as Trustee, as

        successor-in-interest to Bank of America, N.A., as Trustee, as successor by merger to LaSalle

        Bank National Association, as Indenture Trustee for the holders of the Accredited Mortgage

        Loan Trust 2005-3 Asset Backed Notes, in the amount of Two Hundred Twelve Thousand

        Six Hundred Five and 89/100 ($212,605.89) Dollars, the total debt owed under the Note

        plus interest and costs including attorney's fees and costs;

   q) Find that the mortgage in the amount of $106,400.00 dated June 30, 2000 and recorded in

        the Androscoggin County Registry of Deeds in Book 4473, Page 1, has been paid in full

        and is hereby discharged;
Case 2:19-cv-00172-JDL Document 1 Filed 04/23/19 Page 18 of 18                    PageID #: 18




   r)   For such other and further relief as this Honorable Court deems just and equitable.



                                                      Respectfully Submitted,
                                                      U.S. Bank National Association, as Trustee, as
                                                      successor-in-interest to Bank of America,
                                                      N.A., as Trustee, as successor by merger to
                                                      LaSalle Bank National Association, as
                                                      Indenture Trustee for the holders of the
                                                      Accredited Mortgage Loan Trust 2005-3
                                                      Asset Backed Notes,
                                                      By its attorneys,

Dated: April 23, 2019
                                                      b.L_John J\.. I) q.9m1 • , Esq.
                                                      John A. Doonan, Esq., Bar No. 3250
                                                      Reneau]. Longoria, Esq., Bar No. 5746
                                                      Attorneys for Plaintiff
                                                      Doonan, Graves & Longoria, LLC
                                                      100 Cummings Center, Suite 225D
                                                      Beverly, MA 01915
                                                      (978) 921-2670
